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AO 2453 (Rev. 09/17) Judgment in a Cn‘mioal Case
Sheet l

UNITED STATES DisTRiCT COURT

District of Columbia

 

UNITED STATES OF AMERICA § JUDGMEN'I` IN A CRIMINAL CASE
v. )
|SSAC LANIER AVANT § Case Number: 17-189 (JDB)
) UsM Number: 90519-083
)
) Barry Po||ack
Defendant`s Attorney
THE DEFENDANT: ) F I L E D
Elpleaded guilty to coum(s) 1 of the |ndictment filed on October 11, 2017. !_-¢_-Q n g mm
I l_l;f U' v I'.U'

 

El pleaded nolo contendere to count(s)

. r:a.:l$ii'\, H..S an n
which was accepted by the court young fm the D|,Smct of C°|ulrinb'¥a

 

[\ was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these ot?enses:

   

Title & Section Nature of Offense
f i'.s:`"iooi'(éj(z) Falsé-"?§t§ie'ineni_s.
The defendant is sentenced as provided in pages 2 through 3 of this judgment The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

[:] The defendant has been found not guilty on count(s)

 

|J Count(s) [:l is |:l are dismissed on the motion of the United States.

 

v _ It is ordered that the defendant_must notify the Un_ited States attomey for this district within 30 da s of _any change of name, residence,
or mailing address until_al| fines, restitution,_costs, and special assessments imposed by this judgment are fu y paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

215/2018
Date of imposition of Judgment

imd\l )fi/l~

 

 

 

Sivtt`i're of Judge
John D. Bates U .S. District Judge
Name and Title of Judge

F ' '9'

Dale

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AO 2458 (Rev. 09/17) Judgmentiu€ri_minal Case

Sheet 2 _ imprisonment

 

.ludgment _ Page 2 of

qiJEi=Ei~tDiii`tT: issA'c LAN|ER AVANT
CAsENUMBER: 17-189 (JDB) »

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :

NO TERM OF lMPR|SONMENT |N|POSED.

The court makes the following -recommendations'to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this distii'ct:
l:l at [l a.m. |:l p.m. on
l:l as notified by the United States Marshal.

 

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

n l:l before 2 p.m. on

 

l:]_ as notified by the United States Marshal.

l:l as notified by the Probation or Pret:n`al Services Oftice.

RETURN

I have executed this judgment as follows: '

at

Defendant delivered on to '

 

 

, with a certified copy of this judgment

 

 

UN]TED S'I'A'I'ES MARSHAL

 

DEPUTY UNI'I`ED S'I`A'I'ES MAR.SHAL

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AO 245B (Rev. 09/17) .ludgment in a Criminal Case
Sheet 3 - Supem'sed Release

7 .ludgment_Page L of g
DEFENDANT! ISSAC LANlER AVANT l
cAsE NUMBER: 17-189 (JDB)

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of : '

NO PER|OD OF SUPERV|SED RELEASE IMPOSED;.

MANDATORY CoNDITIoNs

1_ You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance

3. You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereaRer, as determined by the court.

|`_`| The above dru testing condition is sus ended, based on the court's determination that ou
§ P Y
pose a low risk of future substance abuse. (check ifapp!i'cab!e)

4_ \:| Y'ou must m'ake restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution rcth grappiicab:e) '

5. . |:l You must cooperate in the collection of DNA as directed by the probation officer. (check yapph'cab!e) `.
|]

You must comply with the requirements of the Sex Offender Registration and Notif'ication Act (42 U.S.C. § 16901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offendef registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check ifapp!i‘cable)

7_ |:| You must participate in an approved program for domestic violence. (check ifapph'cabl'e)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

AO 2453 (Rev. 09/17] Ju gmeo in al?izm.lcnrl aOse;|`SQ-`]DB

Sheet 4_Proban`on

DEFENDANT; issAc LAN|ER AVANT
CASE NUMBER; 17-189 (JDB)

You are hereby sentenced to probation for a term of :

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PROBATION

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__._8_._

SlX (6) MONTHS TO RUN CONCURRENT WITH THE PER|OD OF SUPERV|SED RELEASE lMPOSED BY THE
EASTERN DlSTR|CT OF VIRG|N|A, Case NO. 16- CR-385M- 001.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawli.llly possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
probation and at least two periodic drug tests thereafter, as determined by the court. '

S"’.'"’:”‘

|:l The above drug testing condition is suspended, based on the coui‘t‘s determination that you pose a low risk of fiiture

substance abuse. (check ifapplicabfe)

E-‘"

4. Z| You must cooperate in the.collection of DNA as directed by the probation officer. (check ifapph'cable)
I:I You must comply with the requirements of the Sex Offender Registration and Notif`ication Act (42 U.S.C. § 16901, et seq.)

as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location ,
where you reside, work, are a student, or were convicted of a qualifying offense. (check yapp!i.:abie_) ‘

-.~vs>°.-l s=\

fincs, or special assessments

|:l You must participate in an approved program for domestic violence. (check ifappli'cable)

l:l You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (checkifapplicable)
You must pay the assessment imposed in accordance with 18 U. S. C. § 3013. `

If this judgment' imposes a t`ine, you must pay iri accordance with the Schedule of Payments sheet of this judgment
0. You must notify the court of any material change` in your economic circumstances that might affect your ability to pay restitution,

l
i.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached

page.

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AO 2453 {Rev. 091'| 71 Judgment` in a Ciiminal Case
Sheet 4A- Probation

 

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DEFENDANT; issAc i__ANiaR AVANT
CASE NUMBER; 17-189 (JDB)

STANDARD CONDITIONS Oli_` SUPER_VISION

As part of your probation, you must comply with the following standard conditions of supervision These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition

l. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.

2. Afier initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer' in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your horne or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must tiy to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your j ob
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least l0
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. lf you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation ocher.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must_not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may

' require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that y`ou have notified the person about the risk

13. You must follow the instructions of the probation officer related to the conditions of supervision '

U.S. Probation Office Use Only

A U.S. probation officer has instructed me 'on the conditions specified by the court and has provided me with a written copy of this`
judgment containing these conditions For further information regarding these conditions, see Overvi'ew of Probati'on and Supervised
Release Condi'ti'ons, available at: www.uscourts.gov.

Defendant's Signature ` Date

 

 

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DEFENDANT: |SSAC LAN|ER AVANT
CASE NUMBER: 17-'189 (JDB)

SPEClAL CONDlTIONS OF SUPERVISION

1. The defendant shall notify the Cierk of Court for the U.S.r District Court for the District of Co|umbia within thirty (30) days
of any change of address until such time'as the financial obligation is paid in fui|.

2. The defendant must complete 30 hours of community service within 3 months. The Probation Oflicer will supervise the
participation in the program by approving the program. The defendant must provide written verification of completed hours
to the Probation Ocher.

3. The defendant must provide the Probation Oft'lcer access to any requested financial information and authorize the
release of any financial information. The Probation Offlce may share financial information with the United States Attorney's
Ofnce.

_The probation oche shall release the presentence investigation report to ali appropriate agencies in order to execute the
sentence of the Court. Treatment agencies shall return the presentence report to the probation off ce upon the defendant’ s
completion or termination from treatment

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AO 2453 (Rev. 09/17) Judgment in a Criminal Case .

Sheet 5 _ Criminal Monetary Penalties

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DEFENDANTZ lSSAC LAN|ER AVANT

CASE NUMBER: 17-189 (JDB) 7
CRIMINAL MONETARY PENALTIES

The'defendant m`ust pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment .IVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ $ $
l:l The determination of restitution is deferred until . An Amended Judgment fn a Crimz`nal Case (A0245C) will be entered

after such determination

l:l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa ec shall receive an approximatel ro ortioned ayment, unless specified otherwise in_

the priority order or percentage payment column elow. However, pursuant t_o 18 .S. . § 3664 1), all nonfederal victims must be paid
before the United States is pald.

Name of_Pavee

 

 

» n

7 Total Loss** Restitution Or ered Priorig or Percentage
-'_‘~m `J- “- ~ ‘ --~~’ -j-;~'-~'~;~.; wm w ~ n _~_-""_W'~""Wr'**v'_'~

 
 
 

        

 

 

 

 

     

 

 

 

 

         

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTALS s 0.00 s 0.00

 

l:l Restitution amount ordered pursuant to plea agreement $

l:l The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the

fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:l The court determined that the defendant does not have the ability to pay interest and it is ordered that:
|:] the interest requirement is Waived for the l`_`| fine ` l:] restitutionl

|:i the interest requirement for the [:l fine l:| restitution is modified as follows'.

* Justice for Victims ofTrachkin Act of 2015 , Pub. L. No. 114-22.

** Findings for the total amount o losses are required under Chapters IO9'A, 110, IIUA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 199_6. .

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Sheet 6 -- Schedule of Payments

 

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DEFENDANTZ ISSAC LAN[ER AVANT
CASE NUMBERZ b 17-189 (JDB)

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A ' m Lump sum payment of $ 100‘00 due immediately, balance due
|:| ' not later than , or

|:| in accordance with |:| C, [:| D, |:] E, or |:| Fbelow;or

B l:l Payment to begin immediately (may be combined With l:l C, l:l D, or l:l F below); or

C l:l Payment in equal ' (e.g.. week!y, monthly, `qnarrerly) installments of $ over a period of
(e.g., months ar years), to commence (e.g., 30 or 60 days) afterthe date of this judgment; or

D l:l Payment in equal n (e.g., weekly monthiy, quarteriy) installments of $ over a period of
(e.g., months oryears), to, commence ` (e.g., 30 or 60 days) alter release from imprisonment to a

term of supervision; or

E |:] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will setthe payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [] Special instructions regarding the payment of criminal monetary penalties:

Unless _the cou_rt ha_s expressly ordered otherwise, if this judgment imposes imprisonment, pa 7 ent of criminal monetary penalties is due during
th_e period of imprisonment. All criminal monetary penaltles, except those payments ma c through the Federal Bureau of Prtsons’ Inmate
Fmanctal Responstbthty Program, are made to the clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

|:| Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant nnmber), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

l:l The defendant shall pay the cost of prosecution.
l:l The defendant shall pay the following court cost(s)_:

l:l The defendant shall forfeit the defendant’s interest in the following property to the United Statcs:

Payments shall be applied in the following order: (1) assessment`, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) .TV'I`A assessment, (8) penalties, and (9) costs, including co'st of prosecution and court costs.

